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             EXHIBIT G-10
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                                         ALLONGE




         ALLONGE to that certain Promissory Note dated as of October 21, 2016 in the original
principal amount of $8,350,000.00, executed by KORNBLUTH TEXAS, LLC, a Texas limited
liability company, payable to the order of RIALTO MORTGAGE FINANCE, LLC, a Delaware
limited liability company.

       Pay to the order of WILMINGTON TRUST, NATIONAL ASSOCIATION, AS
TRUSTEE FOR THE BENEFIT OF THE REGISTERED HOLDERS OF WELLS FARGO
COMMERCIAL MORTGAGE TRUST 2016-LC25, COMMERCIAL MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2016-LC25, without recourse, representation or
warranty.

          Dated as ofthe _ _ .day of December, 2016


                                           RIALTO MORTGAGE FINANCE, LLC, a
                                           Delaware limited liability company




                                           ~~~e:~mi~
                                           Title: Authorized Signatory




Reference No.: 4435.017
Matter Name: Holiday Inn Webster
Pool: WFCM 2016-LC25
